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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

MERVAT MIKHAEIL,

                              Plaintiff,              Civil Action No. 13-14107
                                                      Honorable Nancy G. Edmunds
v.                                                    Magistrate Judge David R. Grand

WALGREENS, INC.,

                        Defendant.
__________________________________/

                         ORDER GRANTING DEFENDANT’S
                        MOTION FOR PROTECTIVE ORDER [19]

       Before the Court is Defendant’s “Motion for Protective Order Under Rule 26(c)(1)

Concerning Plaintiff’s Request for Depositions on September 29-30 with Unreasonably Short

Notice,” which was filed on September 24, 2014. (Doc. #19). On September 25, 2014, this

motion was referred to the undersigned for a hearing and determination pursuant to 28 U.S.C.

§636(b)(1)(A). (Doc. #20). The Court attempted to schedule a telephone conference with

counsel for the parties to discuss the merits of this motion, but such attempts were unsuccessful.

Given the timing of the noticed depositions at issue and the nature of the relief requested, the

Court must rule on this motion expeditiously.

       The discovery cutoff in this case is Wednesday, October 1, 2014. (Doc. #11). On

September 23, 2014, counsel for Plaintiff faxed to counsel for Defendant two deposition notices,

purporting to schedule the depositions of five individuals for September 29th and 30th. (Doc.

#19 at Ex. A). These individuals are Sue Dobrowolski, Kevin Schmidt, Donna Spencer, Amy

Yadmark, and Jeremy Willis.1 (Id.). Upon receipt of these deposition notices, counsel for


1
 Two of these witnesses reside outside the state of Michigan, and another is not listed on either
party’s witness list. Specifically, Ms. Dobrowolski resides in Illinois, and Mr. Willis resides in
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Defendant objected to the notices as unreasonable; however, he indicated that he would attempt

to determine the availability of the two key, Michigan-based witnesses – Amy Yadmark and

Donna Spencer – on the dates unilaterally selected by Plaintiff. (Id. at Ex. E). Subsequently,

counsel for Defendant communicated – both via e-mail and via text message – that Ms. Spencer

could appear for her deposition on Monday, September 29, but Ms. Yadmark was unavailable on

both September 29th and 30th. (Id. at Ex. F, G). Counsel for Plaintiff did not respond to these

communications. Defendant then filed the instant motion, seeking a protective order preventing

Plaintiff from deposing four of the five individuals (Yadmark, Willis, Schmidt, and

Dobrowolski) on September 29th and 30th.

       Fed. R. Civ. P. 30(b)(1) requires “reasonable written notice” of an oral deposition, and

Fed. R. Civ. P. 26(c) authorizes the Court to take steps “to protect a party or person from

annoyance, embarrassment, oppression, or undue burden or expense ….” What is “reasonable”

notice depends on the facts and circumstances of each case, but depositions noticed up less than

one week in advance are frequently found unreasonable. See, e.g., Kellogg Co. v. FPC Flexible

Packaging Corp., 2013 WL 3805670, at *2-4 (W.D. Mich. July 22, 2013) (attempt to depose “on

six days’ notice just before the close of discovery was unreasonable”); United States v. Philip

Morris, Inc., 312 F. Supp. 2d 27, 36-37 (D.D.C. 2004) (three business days’ notice was

unreasonable); Tradewinds Environmental Restoration, Inc. v. St. Tammany Park, LLC, 2008

WL 449972, at *2 (E.D. La. Feb. 14, 2008) (email notice sent Friday, February 8, 2008 for

deposition scheduled for February 13, 2008 not reasonable).

       In this case, even assuming that counsel for Plaintiff faxed the deposition notices to



Ohio. (Id. at 7). And, according to Defendant, Mr. Schmidt is “a Walgreen Vice-President with
no direct knowledge of the underlying events in this case, and who does not appear on either
party’s witness list.” (Id.).

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counsel for Defendant on Tuesday, September 23, 2014,2 that still gave Defendant only three

business days to simultaneously prepare for the depositions of five witnesses, two of whom

reside out of state. This simply is not reasonable. This is particularly true where the governing

scheduling order was entered on May 28, 2014, establishing a discovery cutoff date of October 1,

2014. (Doc. 11). Counsel for Plaintiff could have sought dates for the depositions of these

individuals at any time after May 28th; however, she apparently did not do so, instead waiting

until just one week before the discovery cutoff to unilaterally notice up five depositions for the

two days preceding the close of discovery.

       Under the circumstances, the Court finds that Defendant was not provided reasonable

notice of the depositions, as required by Fed. R. Civ. P. 30(b)(1). Consequently, entry of a

protective order preventing the challenged depositions from going forward on the dates in

question is warranted pursuant to Fed. R. Civ. P. 26(c).3



2
 Apparently counsel for Defendant did not receive these faxed notices until September 24, 2014,
because of “a flood and some tech issues ….” (Doc. #19 at Ex. G).
3
  Plaintiff’s counsel did e-mail Defendant’s counsel prior to its filing of the instant motion and
offered to have Defendant’s counsel consult with her assistant regarding changing the deposition
dates. (Doc. #19 at 8). Defendant counters that the Court’s practice guidelines provide that the
parties may stipulate to extend the discovery deadline “only if the extension of time does not
affect the motion cutoff.” (Id.). Defendant contends that “such an extension here would affect
the motions deadline, as [Defendant’s] dispositive motion is due November 1, 2014.” (Id.). The
Court does not necessarily agree with this position of the Defendant; assuming the depositions
can be re-scheduled to take place within a short period of time after September 30, 2014, the
Court sees no reason why the dispositive motion cutoff date would need to be moved. Although
Plaintiff should have worked with Defendant in obtaining acceptable dates for the various
depositions, and a protective order for the September 29th and 30th depositions is appropriate for
the reasons discussed above, the parties should still work cooperatively to find new dates in the
immediate future for the depositions. Over the weekend, counsel should discuss whether it
makes sense for Spencer’s deposition – for which Defendant has not sought a protective order –
to proceed as scheduled on its own at 2:00 p.m. on September 29, 2014. Plaintiff should also
consider the need to depose Schmidt, as Defendant contends he “is a Walgreen Vice-President
with no direct knowledge of the underlying events in this case, and who does not appear on
either party’s witness list.” (Id. at 7).
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       Therefore, IT IS ORDERED that Defendant’s Motion for Protective Order [19] is

GRANTED.

       IT IS SO ORDERED.

Dated: September 26, 2014                            s/David R. Grand
Ann Arbor, Michigan                                  DAVID R. GRAND
                                                     United States Magistrate Judge




                            NOTICE REGARDING OBJECTIONS

       The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which provides a period of
fourteen (14) days from the date of receipt of a copy of this order within which to file objections
for consideration by the district judge under 28 U.S. C. §636(b)(1).



                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on September 26, 2014.


                                                     s/Eddrey O. Butts
                                                     EDDREY O. BUTTS
                                                     Case Manager




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